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The Honorable Richard M. Berman
United States District Court
Southern District of New York
500 Pearl Street
New York, NY 10007

                                                                                      October 28, 2024

                                          Re: USA v. Siddiqui
                                              Case No. 1:08-cr-826-RMB

Dear Judge Berman:

Counsel for Defendant, Aafia Siddiqui, with the consent of Government’s attorney, file this letter
along with an attached Stipulated and Proposed Protective Order. Per the Court’s instruction in the
endorsement, dated October 3, 2024, counsel have updated the contact information for all attorneys
previously involved in the matter, and have attached that list as an Exhibit to the Stipulated (Proposed)
Protective Order.


Respectfully,

/s/Hassan E. Ansari
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Hassan E. Ansari, Esq.
Ansari Legal LLC

/s/Clive Stafford Smith
____________________
Clive Stafford Smith, Esq.

Counsel for Defendant
Aafia Siddiqui



Attachment:
Stipulated (Proposed) Protective Order


copied to (via ECF/email):
Getzel Berger, Esq., AUSA




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